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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA



PHILADELPHIA PROFESSIONAL COLLECTIONS                        :      CIVIL ACTION NO.:
LLC                                                          :
                     Plaintiff,                              :
                                                             :
CRAWL SPACE DOOR SYSTEM, INC. d/b/a                          :
CRAWL SPACE DOOR SYSTEMS, INC.                               :
                                                             :
                               Defendant.                    :

                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, et seq., Defendant Crawl Space Door

System, Inc., d/b/a Crawl Space Door Systems, Inc. (“Defendant”) removes this case from the

Court of Common Pleas of Philadelphia County, Pennsylvania, to the United States District

Court for the Eastern District of Pennsylvania. In support of this Notice of Removal, Defendant

states as follows:

Background

       1.       On or about November 23, 2021, Plaintiff Philadelphia Professional Collections,

LLC (“Plaintiff”) commenced this action via Complaint in the Court of Common Pleas of

Philadelphia County, Pennsylvania. A copy of the Complaint is attached hereto as Exhibit “A.”

       2.       On or about December 8, 2021, Defendant served Plaintiff with the Complaint via

U.S. First-Class mail.

       3.       A notice of removal must be filed within 30 days after the initial pleading. See 28

U.S.C. § 1446(b)(1). A complaint is considered an initial pleading and triggers the 30-day

period. Sikirica v. Nationwide Ins. Co., 416 F.3d 214, 223 (3d Cir. 2005).
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       4.       Defendant files this Notice within 30 days after receipt of a copy of the initial

pleading setting forth the claim for relief upon which the action is based, in this instance, the

Complaint. See 28 U.S.C. § 1446(b)(1).

       5.       Other than as provided above, Defendant has received no other process,

pleadings, motions or orders for this matter.

Amount in Controversy

       6.       In its Complaint, Plaintiff alleges that Defendant owes White and Williams, LLC

(“W&W”) $670,077.93 for legal services rendered by W&W in representing Defendant in the

now-closed matter captioned Smart Vent Products, Inc. v. Crawl Space Door System, Inc.,

Docket No. 1:13-cv-05691-JBS-JKW, which was litigated in the United States District Court for

the District of New Jersey. Complaint at ¶ 21.

       7.       Plaintiff alleges that W&W assigned all of its rights and claims against Defendant

to Plaintiff pursuant to an Assignment Agreement. Id. at ¶ 22 and Exhibit C.

       8.       Accordingly, the amount in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs as required by 28 U.S.C. § 1332(a).

Diversity of Citizenship

       9.       Plaintiff alleges that it is a Pennsylvania limited liability company with a principal

place of business located at 1650 Market Street, Suite 1800, Philadelphia, Pennsylvania 19103.

Complaint at ¶ 1.

       10.      Plaintiff is wholly-owned by W&W. Id., Exhibit B at 1.

       11.      W&W is a Pennsylvania limited liability partnership with a principal place of

business located at 1650 Market Street, Suite 1800, Philadelphia, Pennsylvania 19103. Id.

       12.      W&W has no offices in the Commonwealth of Virginia.
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       13.     Upon information and belief, none of Plaintiff’s members are citizens of Virgina.

       14.     Defendant is a corporation organized under the laws of the Commonwealth of

Virginia, with a principal place of business at 3700 Shore Drive, Suite #101, Virginia Beach,

Virginia 23455.

       15.     Accordingly, complete diversity of citizenship between the parties to this action

as required by 28 U.S.C. § 1332(a)(1) exists.

   Propriety of Removal

       16.     For the foregoing reasons, this Court has jurisdiction over this matter based on

diversity of citizenship pursuant to 28 U.S.C. § 1332. This action may be removed to this Court

pursuant to 28 U.S.C. § 1441(a).

       17.     The United States District Court for the Eastern District of Pennsylvania is the

federal judicial district encompassing the Court of Common Pleas of Philadelphia County,

Pennsylvania, where this suit was originally filed. Venue is therefore proper in this district under

28 U.S.C. § 1441(a).

       18.     Accordingly, this action may be removed from the Court of Common Pleas of

Philadelphia County, Pennsylvania, and brought before the United States District Court for the

Eastern District of Pennsylvania pursuant to 28 U.S.C. §§ 1332(a)(1) and 1441(a).

       19.     Under the provisions of 28 U.S.C. § 1446(d), Defendant will promptly file a copy

of this Notice of Removal with the clerk of the Court of Common Pleas of Philadelphia County,

Pennsylvania, and will serve a copy of the same upon counsel for Plaintiff. A true and accurate

copy of the Notice of Filing Notice of Removal is attached hereto as Exhibit B.
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       WHEREFORE, notice is hereby given that this action is removed from the Court of

Common Pleas of Philadelphia County, Pennsylvania, to the United States District Court for the

Eastern District of Pennsylvania.

                                           Respectfully submitted,

                                           WEIR & PARTNERS LLP

Dated: December 16, 2021                   By: /s/ Steven E. Angstreich__________________
                                              Steven E. Angstreich, Esquire
                                              Attorney I.D. No.: 3739
                                              1339 Chestnut Street, Suite 500
                                              Philadelphia, PA 19107
                                              215-665-8181
                                              sangstreich@weirpartners.com

                                              Attorneys for Defendant, Crawl Space Door
                                              System, Inc. d/b/a Crawl Space Door Systems,
                                              Inc.
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                    EXHIBIT “A”
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      Court of Common Pleas of Philadelphia County                                               For Prothonotary Use Only (Docket Number)
                    Trial Division
                   Civil Cover Sheet                                        E-Filing Number:   2111048409
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 PHILADELPHIA PROFESSIONAL COLLECTIONS LLC                                    CRAWL SPACE DOOR SYSTEM, INC., ALIAS: CRAWL
                                                                              SPACE DOOR SYSTEMS, INC.
PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 ONE LIBERTY PL SUITE 1900 1650 MARKET ST                                     3700 SHORE DRIVE, STE. #101
 PHILADELPHIA PA 19103                                                        VIRGINIA BEACH VA 23455


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS




PLAINTIFF'S NAME                                                            DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS




TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS        COMMENCEMENT OF ACTION
                                                                       X Complaint                  Petition Action                     Notice of Appeal
               1                                     1
                                                                          Writ of Summons           Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                   Arbitration                   Mass Tort                       X Commerce                          Settlement
    $50,000.00 or less             Jury                          Savings Action                    Minor Court Appeal                Minors
 X More than $50,000.00            Non-Jury                      Petition                          Statutory Appeals                 W/D/Survival
                                   Other:
CASE TYPE AND CODE

  1O - CONTRACTS OTHER

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                        IS CASE SUBJECT TO
                                                                                                                      COORDINATION ORDER?
                                                                                                                                  YES         NO


                                                                   NOV 23 2021
                                                                        M. RUSSO

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: PHILADELPHIA PROFESSIONAL
                                                                        COLLECTIONS LLC
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                      ADDRESS

 FARZANA ISLAM                                                               WHITE AND WILLIAMS, LLP
                                                                             ONE LIBERTY PLACE, SUITE 1800
PHONE NUMBER                            FAX NUMBER                           1650 MARKET STREET
 (215)864-7018                          (215)399-9617                        PHILADELPHIA PA 19103

SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

 323427                                                                      islamf@whiteandwilliams.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED
 FARZANA ISLAM                                                               Tuesday, November 23, 2021, 06:18 pm

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
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                                 COMMERCE PROGRAM ADDENDUM
                                       TO CIVIL COVER SHEET

     This case is subject to the Commerce Program because it is not an arbitration matter and it falls within one or
more of the following types (check all applicable):


         1.       Actions relating to the internal affairs or governance, dissolution or liquidation, rights or obligations
                  between or among owners (shareholders, partners, members), or liability or indemnity of managers
                  (officers, directors, managers, trustees, or members or partners functioning as managers) of business
                  corporations, partnerships, limited partnerships, limited liability companies or partnerships,
                  professional associations, business trusts, joint ventures or other business enterprises, including but
                  not limited to any actions involving interpretation of the rights or obligations under the organic law
                  (e.g., Pa. Business Corporation Law), articles of incorporation, by-laws or agreements governing such
                  enterprises;


  X      2.       Disputes between or among two or more business enterprises relating to transactions, business
                  relationships or contracts between or among the business enterprises. Examples of such transactions,
                  relationships and contracts include:

                                a.     Uniform Commercial Code transactions;
                                b.     Purchases or sales of business or the assets of businesses;
                                c.     Sales of goods or services by or to business enterprises;
                                d.     Non-consumer bank or brokerage accounts, including loan, deposit cash
                                       management and investment accounts;

                                e.     Surety bonds;
                                f.     Purchases or sales or leases of, or security interests in, commercial, real
                                       or personal property; and

                                g.     Franchisor/franchisee relationships.

         3.       Actions relating to trade secret or non-compete agreements;

         4.       "Business torts," such as claims of unfair competition, or interference with contractual relations or
                  prospective contractual relations;

         5.       Actions relating to intellectual property disputes;

         6.       Actions relating to securities, or relating to or arising under the Pennsylvania Securities Act;

         7.       Derivative actions and class actions based on claims otherwise falling within these ten types, such as
                  shareholder class actions, but not including consumer class actions, personal injury class actions, and
                  products liability class actions;

         8.       Actions relating to corporate trust affairs;

         9.       Declaratory judgment actions brought by insurers, and coverage dispute and bad faith claims brought
                  by insureds, where the dispute arises from a business or commercial insurance policy, such as a
                  Comprehensive General Liability policy;

         10.      Third-party indemnification claims against insurance companies where the subject insurance policy
                  is a business or commercial policy and where the underlying dispute would otherwise be subject to
                  the Commerce Program, not including claims where the underlying dispute is principally a personal
                  injury claim.

EFS #2111048409                                                                                                      \\zdraddm 5/07
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  WHITE AND WILLIAMS LLP                                        Attorneys for Plaintiff
                                                                              Filed and Attested by the
  BY: Farzana Islam, Esquire                                    Philadelphia Professional
                                                                             Office of Judicial Records
  Identification No. 323427                                     Collections, LLC 23 NOV 2021 06:18 pm
  1650 Market Street | One Liberty Place, Suite 1800 |                                      M. RUSSO
  Philadelphia, PA 19103-7395
  (215) 864-7018
  islamf@whiteandwilliams.com

PHILADELPHIA PROFESSIONAL                                   : PHILADELPHIA COUNTY
COLLECTIONS, LLC                                            : COURT OF COMMON PLEAS
1650 Market Street                                          :
Suite 1800                                                  : NO.
Philadelphia, PA 19103                                      :
                                                            :
                                 Plaintiff,                 :
                                                            :
        v.                                                  :
                                                            :
                                                            :
CRAWL SPACE DOOR SYSTEM, INC., D/B/A                        :
CRAWL SPACE DOOR SYSTEMS, INC.                              :
3700 Shore Drive, Ste. #101                                 :
Virginia Beach, VA 23455                                    :
                                                            :
                                                            :
                                 Defendant.                 :

                                                NOTICE

    YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set forth in the
  following pages, you must take action within TWENTY (20) days after this complaint and notice are
  served, by entering a written appearance personally or by attorney and filing in writing with the court
your defenses or objections to the claims set forth against you. You are warned that if you fail to do so the
case may proceed without you a judgment may be entered against you by the court without further notice
 for any money claimed in the complaint of for any other claim or relief requested by the plaintiff. You
                      may lose money or property or other rights important to you.

 YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT HAVE
   A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET
   FORTH BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT
HIRING A LAWYER. IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY
   BE ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY
  OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

               Philadelphia Bar Association Lawyer Referral and Information Service
                                 Philadelphia, Pennsylvania 19107
                                (215) 238-6333/TTY (215) 451-6197




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                                                AVISO

  Le han demandado a usted en la corte. Si usted quiere defenderse de estas demandas expuestas en las
      paginas siguientes, usted tiene veinte (20) dias de plazo al partir de la fecha de la demanda y la
 notificacion. Hace falta ascentar una comparencia escrita o en persona o con un abogado y entregar a la
corte en forma escrita sus defensas o sus objeciones a las demandas en contra de su persona. Sea avisado
  que si usted no se defiende, la corte tomara medidas y puede continuar la demanda en contra suya sin
previo aviso o notificacion. Ademas, la corte puede decider a favor del demandante y requiere que usted
cumpla con todas las provisiones de esta demanda. Usted puede perder dinero o sus propiedades u otros
                                      derechos importantes para usted.

LLEVE ESTA DEMANDA A UN ABOGADO IMMEDIATAMENTE. SI NO TIENE ABOGADO
O SI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO. VAYA EN PERSONA
O LLAME POR TELEFONO A LA OFICINA CUYA DIRECCION SE ENCUENTRA ESCRITA
    ABAJO PARA AVERIGUAR DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL.

                              Asociacion De Licenciados De Filadelfia
                            Servicio De Referencia E Informacion Legal
                                        One Reading Center
                                   Filadelfia, Pennsylvania 19107
                                (215) 238-6333/TTY (215) 451-6197




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  WHITE AND WILLIAMS LLP                                  Attorneys for Plaintiff
  BY: Farzana Islam                                       Philadelphia Professional
  Identification No(s). 323427                            Collections, LLC
  1650 Market Street | One Liberty Place, Suite 1800 |
  Philadelphia, PA 19103-7395
  (215) 864-7018
  islamf@whiteandwilliams.com

 PHILADELPHIA PROFESSIONAL                              : PHILADELPHIA COUNTY
 COLLECTIONS, LLC                                       : COURT OF COMMON PLEAS
 1650 Market Street                                     :
 Suite 1800                                             : NO.
 Philadelphia, PA 19103                                 :
                                                        :
                               Plaintiff,               :
                                                        :
         v.                                             :
                                                        :
                                                        :
 CRAWL SPACE DOOR SYSTEM, INC., D/B/A                   :
 CRAWL SPACE DOOR SYSTEMS, INC.                         :
 3700 Shore Drive, Ste. #101                            :
 Virginia Beach, VA 23455                               :
                                                        :
                                                        :
                               Defendant.               :
                                                        :

                                            COMPLAINT

        Plaintiff Philadelphia Professional Collections, LLC, by and through its undersigned

counsel, for its Complaint against Defendant Crawl Space Door System, Inc., d/b/a Crawl Space

Door Systems, Inc., alleges as follows:

                                            THE PARTIES

        1.     Plaintiff Philadelphia Professional Collections LLC (“Plaintiff” or “PPC”) is a

Pennsylvania limited liability company with a principal place of business located at 1650 Market

Street, Suite 1800, Philadelphia, Pennsylvania 19103.




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        2.     Defendant Crawl Space Door System, Inc., d/b/a Crawl Space Door Systems, Inc.,

(“Defendant” or “Crawl Space”) is a corporation organized under the laws of the State of Virginia,

with a principal place of business at 3700 Shore Drive, Ste. #101, Virginia Beach, Virginia 23455.

                                JURISDICTION AND VENUE

        3.     Jurisdiction and venue are proper in this Court because the transactions and/or

occurrences giving rise to this cause of action occurred in Philadelphia County, Pennsylvania.

        4.     Specifically, William Sykes, President of Crawl Space, contacted Michael N.

Onufrak, a former partner located in the Philadelphia office of White and Williams, LLP

(“W&W”), and requested that W&W represent Crawl Space in litigation pending before the United

States District Court of New Jersey, captioned Smart Vent Products, Inc. v. Crawl Space Door

System, Inc., Docket No. 1:13-cv-05691-JBS-JKW (the “Litigation”).

        5.     Prior to engaging in legal services, Mr. Onufrak sent Defendant an engagement

letter for the Litigation from W&W’s Philadelphia office. A copy of the engagement letter, dated

October 14, 2015 (the “Engagement Letter”), is attached hereto as Exhibit A.

        6.     Defendant signed the Engagement Letter and returned it to Mr. Onufrak.

        7.     Thereafter, various attorneys in W&W’s Philadelphia office rendered services on

behalf of W&W to Defendant for the Litigation.

                                            FACTS

        8.     PPC is the assignee of W&W as to any accounts, accounts receivable, claims, or

causes of action that W&W has, or had, against the Defendant.

        9.     On or about October 14, 2015, Defendant engaged W&W to perform legal services

on behalf of Defendant in connection with the Litigation.




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        10.     Specifically, Defendant sought representation in a matter pending before the United

States District Court of New Jersey, captioned Smart Vent Products, Inc. v. Crawl Space Door

System, Inc., Docket No. 1:13-cv-05691-JBS-JKW (the “Litigation”).

        11.     As set forth in the parties’ Engagement Letter, Defendant agreed that W&W would

be paid for its legal services on an hourly basis. As expressly noted by Mr. Onufrak:


                W&W charges for its services on an hourly basis. The rates set forth
                herein are less than we typically would charge for a case like this
                one but the rates were adjusted downward to fit within the fee
                structure acceptable to Selective Insurance Company of America,
                your carrier . . . My adjusted hourly rate is $350 per hour. Associates
                in our Commercial Litigation group who may be assisting me in the
                handling of this matter have adjusted hourly rates of $225-245.
                Paralegals have the adjusted rate of $100 per hour.

Ex. A at 2.

        12.     William Sykes, President of Crawl Space, signed the Engagement Letter on behalf

of Defendant.

        13.     Upon information and belief, Mr. Sykes is also a licensed attorney.

        14.     Throughout the Litigation, W&W defended Crawl Space against unfair

competition, negligent misrepresentation, and federal trademark infringement claims alleged by

its competitor, Smart Vent Products, Inc. W&W also rendered services in furtherance of all

counterclaims and eleven affirmative defenses on Crawl Space’s behalf.

        15.     The Litigation proceeded to trial for three weeks between October 7, 2019 and

October 29, 2019. There, the jury found in favor of Crawl Space with respect to its defenses and

counterclaims and awarded $300,000 in damages.




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        16.    Thereafter, W&W filed all appropriate post-trial motions on behalf of Defendant

and a Notice of Appeal to the United States Court of Appeals for the Third Circuit challenging the

damages award, the denial of Crawl Space’s request for attorneys’ fees, and Crawl Space’s post-

trial motion for sanctions.

        17.    On or about October 20, 2020, Crawl Space retained the legal services of Mr.

Matthew Z. Earle, an attorney unaffiliated with W&W.

        18.    Upon information and belief, Crawl Space and Smart Vent Products, Inc. settled

the Litigation after retaining Mr. Earle.

        19.    Crawl Space refused to disclose the amount of settlement to W&W.

        20.    W&W performed all legal services required of it pursuant to the agreement with

Defendant, including but not limited to representing Crawl Space in pre-trial litigation, at trial, and

in post-trial litigation between October 2015 and October 2020.

        21.    On or about June 4, 2021, W&W informed Crawl Space of the outstanding balance

of $670,077.93 due for legal services rendered by W&W pursuant to the agreement with Crawl

Space. See Exhibit B.

        22.    Following Defendant’s nonpayment of the $670,077.93, W&W assigned all of its

rights and claims (the “Assignment”) against Defendant Crawl Space to PPC. A true and accurate

copy of the Assignment is attached as Exhibit C.

                          COUNT ONE – BREACH OF CONTRACT

        23.    PPC incorporates by reference as if fully set forth herein all of the averments of the

preceding paragraphs of this Complaint.

        24.    Defendant agreed to pay for legal services provided by W&W in connection with

the Litigation in accordance with the parties’ agreement.


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        25.    Despite demand, Defendant has failed and refused to make full payment of the

amounts owed to W&W.

        26.    In breach of Defendant’s agreement with W&W, Defendant has failed and refused

to pay for legal services invoiced by W&W pursuant to the agreement, which amount totals

$670,077.93, exclusive of interest.

        27.    Pursuant to W&W’s assignment, PPC is entitled to recover all amounts owed by

Defendant to W&W.

        28.    WHEREFORE, Plaintiff Philadelphia Professional Collections LLC respectfully

requests that the Court enter judgment in its favor and against Defendant Crawl Space in the

amount of $670,077.93, together with interest, costs, and such further relief as the Court deems

just and proper.

                          COUNT TWO – UNJUST ENRICHMENT

        29.    Plaintiff incorporates by reference as if fully set forth herein all of the averments of

the preceding paragraphs of this Complaint.

        30.    Alternatively, beginning on or about October 14, 2015, at Defendant’s request,

W&W performed legal services for Defendant and incurred costs and expenses on Defendant’s

behalf in connection with the Litigation.

        31.    Defendant knowingly accepted and benefited from the legal services provided by

W&W, and from the associated costs and expenses W&W incurred on Defendant’s behalf, without

paying for the aforementioned legal services, costs or expenses.




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          32.    Defendant’s failure to pay W&W for the legal services it provided, and for the

associated costs and expenses W&W incurred on his behalf, caused Defendant to be unjustly

enriched, at the expense of W&W, under circumstances which would make it inequitable for

Defendant to have obtained the benefit of such services without payment for their value.

          33.    The fair and reasonable value of the legal services provided by W&W to Defendant,

and for the associated costs and expenses incurred on Defendant’s behalf, is $670,077.93.

          34.    Pursuant to W&W’s assignment, PPC is entitled to recover all such amounts owed

by Defendant.

          WHEREFORE, Plaintiff Philadelphia Professional Collections LLC respectfully requests

that the Court enter judgment in its favor and against Defendant Crawl Space in the amount of

$670,077.93, together with interest, costs, and such further relief as the Court deems just and

proper.




                                                           WHITE AND WILLIAMS LLP



                                                     BY:
                                                           Farzana Islam, Esquire
                                                           Attorneys for Plaintiff,
                                                           Philadelphia Professional Collections
                                                           LLC

Dated: November 23, 2021




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                                         VERIFICATION

        I, Peter J. Mooney, Esquire, hereby verify that I am the President of Philadelphia

Professional Collections LLC, that I am authorized to make this Verification on its behalf, and that

the facts set forth in the foregoing Complaint are true and correct to the best of my knowledge,

information and belief. I understand that the statements made therein are made subject to the

penalties of 18 Pa. C.S. §4904 relating to unsworn falsification to authorities.




                                                      ______________________________
                                                      Peter J. Mooney, President


Dated: November 23, 2021




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                                CERTIFICATE OF SERVICE

        I, Farzana Islam, Esq., hereby certify that on this 23rd day of November 2021, I caused a

true and correct copy of the foregoing Complaint to be served on Defendant by way of the Court’s

ECF System and by First Class U.S. Mail as follows:




                        CRAWL SPACE DOOR SYSTEM, INC., D/B/A
                          CRAWL SPACE DOOR SYSTEMS, INC.
                               3700 Shore Drive, Ste. #101
                                Virginia Beach, VA 23455




                                                        WHITE AND WILLIAMS LLP



                                                 BY:
                                                        Farzana Islam, Esquire
                                                        Attorneys for Plaintiff,
                                                        Philadelphia Professional Collections
                                                        LLC




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                                                                                        Case ID: 211101950
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              EXHIBIT A




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                                                                          Case ID: 211101950
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                                                                 Case ID: 211101950
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                                                                 Case ID: 211101950
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                                                                 Case ID: 211101950
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              EXHIBIT B




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                                                                          Case ID: 211101950
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Peter J. Mooney
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395
Direct 215.864.7164 | Fax 215.789.7664
mooneyp@whiteandwilliams.com | whiteandwilliams.com



June 4, 2021



VIA E-MAIL

William G. Sykes, President
Crawl Space Door Systems, Inc.
5741 Bayside Road #105
Virginia Beach, VA 23455

RE:      Outstanding Accounts Receivable Owed to White and Williams LLP –
         Crawl Space Door Systems, Inc.

Dear Mr. Sykes:

I am the person at White and Williams, LLP tasked with collecting delinquent accounts
receivable from clients. As you are probably aware, you owe White and Williams $670,077.93.

The procedure here at White and Williams, if I cannot reach an acceptable accommodation with
a client to satisfy outstanding accounts, is that the account receivable is assigned to Philadelphia
Professional Collections, LLC (“PPC”), a limited liability company wholly-owned by White and
Williams. PPC will then file a Complaint against the ex-client seeking to collect the outstanding
account. Although this is not my preferable resolution to any outstanding accounts with prior
clients, it is sometimes necessary. I hope that is not necessary in this case.

After receipt of this letter, kindly contact me to discuss making arrangements to pay the
outstanding account that you owe to White and Williams. If I do not hear from you on or before
the close of business on June 11, 2021, the account receivable will be assigned by White and
Williams to PPC, which will then file suit against you to collect the debt. In order to obviate the
expense, annoyance and adverse consequences of being involved in litigation, I respectfully
request that you contact me so that we can resolve this matter.




                      Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
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Page 2


I am looking forward to your anticipated cooperation and I remain,

Very truly yours,

WHITE AND WILLIAMS LLP




Peter J. Mooney

PJM:vl




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                                                                          Case ID: 211101950
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              EXHIBIT C




27309040v.1
                                                                          Case ID: 211101950
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                                ASSIGNMENT AGREEMENT



        THIS ASSIGNMENT AGREEMENT is made this 2nd day of June, 2021 by White and

Williams LLP, a Pennsylvania limited partnership (“W&W”), to Philadelphia Professional

Collections LLC, a Pennsylvania limited liability company (“PPC”).

                                        BACKGROUND

        A.     W&W is a Pennsylvania limited partnership engaging in the practice of law.

        B.     PPC is a Pennsylvania limited liability company, engaged in the business of

collecting accounts receivable and other claims of professional organizations such as law firms,

accounting firms, physicians, accountants, etc.

        C.     W&W desires to sell, assign, transfer and convey all of its right, title and interest,

in, to and under any accounts, contract rights, claims or causes of action (collectively, “Claims”)

that it has against Crawl Space Door Systems, Inc. to PPC.

                                         ASSIGNMENT

        NOW, THEREFORE, W&W, intending to be legally bound hereby, and for good and

valuable consideration, the receipt and sufficiency of which is hereby acknowledged, agrees as

follows:

        1.     Assignment. W&W hereby sells, assigns, transfers, and conveys unto PPC, all of

W&W’s right, title, interest and ownership of any nature whatsoever, in, to, or under any Claims

which W&W has or may have against Crawl Space Door Systems, Inc. (the “Account Debtor”).

Such assignment is non-recourse to W&W.

        2.     Assignor’s Representations and Warranties. W&W represents and warrants to

PPC that it has the right to assign the Claims hereunder, that such Claims are assigned free and

clear of any liens, claims or encumbrances whatsoever in favor of any third party, and that


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                                                                                            Case ID: 211101950
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W&W has not previously pledged, assigned, sold, transferred or encumbered any of the Claims

set forth herein to any other party, person or entity. Furthermore, W&W represents and warrants

that the total amount of accounts receivable due and owing by the Account Debtor to W&W is,

as of June 2, 2021, $670,077.93. W&W makes no representations or warranties whatsoever

except those set forth above.

        3.     Cooperation. W&W agrees to cooperate with PPC in connection with the

collection of the Claims and, if necessary, to testify at any proceedings commenced by PPC to

collect or otherwise satisfy same. In addition, W&W will make its files available to PPC, if

necessary, in connection with such collective activities.

        4.     Miscellaneous. This Agreement constitutes the entire agreement and

understanding of the parties with respect to the subject matter hereof and will be governed and

interpreted in accordance with the laws of the Commonwealth of Pennsylvania.

                                                      WHITE AND WILLIAMS LLP


                                                   By_________________________________
                                                           Andrew F. Susko, Partner



Acceptance of Assignment:

Philadelphia Professional Collections LLC
hereby accepts the above Assignment:




___________________________________
Peter J. Mooney, President




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                     EXHIBIT “B”
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WEIR & PARTNERS LLP
By: Steven E. Angstreich, Esquire
Attorney I.D. No.: 3739
1339 Chestnut Street, Suite 500
Philadelphia, PA 19107
215-665-8181
sangstreich@weirpartners.com
Attorneys for Defendant, Crawl Space Door System, Inc. d/b/a
Crawl Space Door Systems, Inc.

PHILADELPHIA PROFESSIOANL                            :      COURT OF COMMON PLEAS
COLLECTIONS, LLC                                     :
                                                     :      PHILADELPHIA COUNTY
                      Plaintiff.                     :
                                                     :      NOVEMBER TERM, 2021
       Vs.                                           :
                                                     :      NO.: 01950
CRAWL SPACE DOOR SYSTEM, INC.                        :
d/b/a CRAWL SPACE DOOR SYSTEMS, INC.                 :
                                                     :
                      Defendant.                     :

                     NOTICE OF FILING OF NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that on December 16, 2021, Defendant Crawl Space Door

System, Inc., d/b/a Crawl Space Door Systems, Inc. (“Defendant”) removed the above-captioned

action to the United States District Court for the Eastern District of Pennsylvania. Pursuant to 28

U.S.C. § 1446(d), Defendant hereby files a copy of the Notice of Removal attached hereto as

Exhibit “A” to this Notice. Pursuant to 28 U.S.C. § 1446(d), this Court shall take no further

action with regard to the above-captioned action unless and until the case is remanded.
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                                   Respectfully submitted,

                                   WEIR & PARTNERS LLP

Date: December 16, 2021            By: /s/ Steven E. Angstreich__________________
                                      Steven E. Angstreich, Esquire
                                      Attorneys for Defendant, Crawl Space Door
                                      System, Inc. d/b/a Crawl Space Door Systems,
                                      Inc.
        Case 2:21-cv-05476-GAM Document 1 Filed 12/16/21 Page 33 of 34




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By: Steven E. Angstreich, Esquire
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sangstreich@weirpartners.com
Attorneys for Defendant, Crawl Space Door System, Inc. d/b/a
Crawl Space Door Systems, Inc.

PHILADELPHIA PROFESSIOANL                            :      COURT OF COMMON PLEAS
COLLECTIONS, LLC                                     :
                                                     :      PHILADELPHIA COUNTY
                      Plaintiff.                     :
                                                     :      NOVEMBER TERM, 2021
       Vs.                                           :
                                                     :      NO.: 01950
CRAWL SPACE DOOR SYSTEM, INC.                        :
d/b/a CRAWL SPACE DOOR SYSTEMS, INC.                 :
                                                     :
                      Defendant.                     :
                                   CERTIFICATE OF SERVICE

       I, Steven E. Angstreich, Esquire, hereby certify that on December 16, 2021, I caused to

be served a true and correct copy of the foregoing Notice of Filing of Notice of Removal via U.S.

First-Class Mail and email upon the following:

                                         Farzana Islam, Esq.
                                       White & Williams LLP
                                         1650 Market Street
                                   One Liberty Place, Suite 1800
                                       Philadelphia, PA 19103
                                   islamf@white@williams.com
                                        Attorneys for Plaintiff

                                             WEIR & PARTNERS LLP

Date: December 16, 2021                      By: /s/ Steven E. Angstreich__________________
                                                Steven E. Angstreich, Esquire
                                                Attorneys for Defendant, Crawl Space Door
                                                System, Inc. d/b/a Crawl Space Door Systems,
                                                Inc.
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                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA



PHILADELPHIA PROFESSIONAL COLLECTIONS                      :      CIVIL ACTION NO.:
LLC                                                        :
                     Plaintiff,                            :
                                                           :
CRAWL SPACE DOOR SYSTEM, INC. d/b/a                        :
CRAWL SPACE DOOR SYSTEMS, INC.                             :
                                                           :
                             Defendant.                    :

                                CERTIFICATE OF SERVICE

       I, Steven E. Angstreich, Esquire, hereby certify that on December 16, 2021, I caused to

be served a true and correct copy of the foregoing Notice of Removal via U.S. First-Class Mail

and email upon the following:

                                       Farzana Islam, Esq.
                                     White & Williams LLP
                                       1650 Market Street
                                 One Liberty Place, Suite 1800
                                     Philadelphia, PA 19103
                                 islamf@white@williams.com
                                      Attorneys for Plaintiff

                                            WEIR & PARTNERS LLP

Dated: December 16, 2021                    By: /s/ Steven E. Angstreich__________________
                                               Steven E. Angstreich, Esquire
                                               Attorney I.D. No.: 3739
                                               1339 Chestnut Street, Suite 500
                                               Philadelphia, PA 19107
                                               215-665-8181
                                               sangstreich@weirpartners.com

                                                Attorneys for Defendant, Crawl Space Door
                                                System, Inc. d/b/a Crawl Space Door Systems,
                                                Inc.
